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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES

 Date: August 11, 2022                 Time: 11:16 - 11:47 = 31       Judge: SUSAN ILLSTON
                                       minutes
 Case No.: 22-cv-04488-SI              Case Name: Coser v. City of Santa Rosa

Pro Se Plaintiffs: Robin Coser, Forrest Jowers, Adan Alvarez, John Graham, non-party Michael
Deegan, attorney specially appearing Justin Milligan

Attorney for Defendant: Sue Gallagher

 Deputy Clerk: Bhavna Sharma                            Court Reporter: Zoom Recording


                                        PROCEEDINGS

Motion for TRO (Dkt. 2) – held via Zoom Webinar.


                                           SUMMARY

The Court recognizes that Mr. Milligan is not a listed attorney of record in this matter but will
allow him to specially appear for Mr. Deegan today.

The pro se plaintiffs indicate they have retained counsel, Colleen O’Neal, to represent them. Mr.
Milligan states that once he receives approval, he intends to represent Mr. Deegan. The Court
orders all lawyers who are making an appearance in this matter to file a notice of appearance on
the docket, so they appear formally on the record. The parties agree to engage in settlement
conferences with a magistrate. The City represents that it will not sweep the named plaintiffs or
Mr. Deegan until further order from the Court.

The Court in in the process of selecting a magistrate judge to work with counsel and parties on
settlement discussions.

Court to issue order on motion for TRO.
